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              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

                              )
 BRIAN FIREBAUGH, CHLOE JOY   )
 SEXTON, TALIA CADET, TIMOTHY )
 MARTIN, KIERA SPANN, PAUL    )
 TRAN, CHRISTOPHER TOWNSEND, )
 and STEVEN KING,                            Case No. 24-1130
                              )
                          Petitioners,   )
                                         )
       v.                                )
                                         )
 MERRICK B. GARLAND, in his              )
 capacity as United States Attorney      )
 General,                                )
                                         )
                          Respondent.    )

              PETITION FOR REVIEW AND COMPLAINT
            FOR DECLARATORY AND INJUNCTIVE RELIEF
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                          NATURE OF THE ACTION

      1.    Petitioners are among the 170 million Americans who create, publish,

view, interact with, and share videos on TikTok. They rely on TikTok to express

themselves, learn, advocate for causes, share opinions, create communities, and even

make a living. Although they come from different places, professions, walks of life,

and political persuasions, they are united in their view that TikTok provides them a

unique and irreplaceable means to express themselves and form community. They

bring this lawsuit to preserve their First Amendment rights and the rights of

countless others, which are threatened by the Protecting Americans from Foreign

Adversary Controlled Applications Act, Pub. L. No. 118-50 (Apr. 24, 2024).

      2.     The Act bans TikTok unless its owners divest the platform in a manner

that is infeasible, as the company has stated and as the publicly available record

confirms. The Act thus promises to shutter a discrete medium of communication that

has become part of American life,1 prohibiting Petitioners from creating and

disseminating expressive material with their chosen editor and publisher—and from

receiving such material from others.

      3.    This extraordinary restraint on speech violates the First Amendment. In

supporting the Act, lawmakers claimed that TikTok “manipulate[s]” American



1
   Sapna Maheshwari, TikTok Has Changed America, N.Y. Times (Apr. 19, 2024),
https://tinyurl.com/3emzadbb.

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minds2 and disseminates “propaganda” that would “use our country’s free

marketplace to undermine our love for liberty.”3 But it is the Act that undermines

the nation’s founding principles and free marketplace of ideas. The First Amendment

to our Constitution precludes Congress from censoring speech because of its content,

viewpoints, editorial practices, or identity of speakers or publishers.

       4.     To the extent the government may claim the Act’s ban is necessary to

protect Americans’ data, it has tried that strategy before and lost. Two federal district

courts have found that such concerns do not justify a ban. And rightly so. The

concerns are speculative, and even if they were not, they could be addressed with

legislation much more narrowly tailored to any purported concern.

       5.     In sum, TikTok has a profound effect on American life. “Even if you’ve

never opened the app, you’ve lived in a culture that exists downstream of what

happens there.”4 Petitioners are part of this. They have found their voices, amassed

significant audiences, made new friends, and encountered new and different ways of

thinking—all because of TikTok’s novel way of hosting, curating, and disseminating


2
 170 Cong. Rec. H1163-71, H1169 (daily ed. Mar. 13, 2024) (statement of Rep. Dan Crenshaw),
https://tinyurl.com/2aac7du4.
3
 Press Release, Rep. Mike Flood (NE), Congressman Flood Votes to Stop TikTok Propaganda
(Mar. 13, 2024), https://tinyurl.com/tw8zdns5.
4
 Maheshwari, supra note 1; see also AJ Willingham et al., The biggest ways TikTok has changed
American culture, CNN (Apr. 2, 2023), https://tinyurl.com/mrjxnu8d; Katerina Eva Matsa, More
Americans are getting news on TikTok, bucking the trend seen on most other social media sites,
Pew Rsch. Ctr. (Nov. 15, 2023), https://tinyurl.com/yc3eyfc4.

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speech. The Act’s ban of TikTok threatens to deprive them, and the rest of the

country, of this distinctive means of expression and communication. Petitioners

accordingly bring this action for declaratory and injunctive relief.

                                        PARTIES

       6.     Petitioner Brian Firebaugh is a first-generation rancher in Hubbard,

Texas. After serving in the U.S. Marine Corps, Firebaugh experienced homelessness

and addiction but eventually obtained treatment and got a job working in a hospital.

Over time, Firebaugh was able to save up enough to buy a small ranch. He uses

TikTok to educate the public and his 430,000 TikTok followers about agricultural

issues, feature his ranch products, and help the ranching community through

charitable endeavors. Firebaugh earns income from the TikTok Creator Fund5 and

selling ranch products promoted on the app, which has allowed him to become a

full-time rancher. His TikTok success also opened the door to his participation in a

recent Netflix game show where his winnings enabled him and his wife to afford the

adoption process for their son.

       7.     Without access to TikTok, Firebaugh would need to get a different job

and pay for daycare instead of raising his son at home. In his words, “if you ban

TikTok, you ban my way of life.” Without TikTok, Firebaugh will also lose an


5
  In 2020, TikTok launched a Creator Fund, which allows creators with a large following who
consistently post content to receive awards from the TikTok Creator Fund. The Creator Fund has
since evolved into the Creator Rewards Program.

                                              3
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important tool for helping his community and learning from and mentoring other

ranchers. He has already started to see the effects of the Act, including a steep decline

in new TikTok followers.

      8.     Petitioner Chloe Joy Sexton lives in Memphis, Tennessee. After losing

her job in 2020, Sexton started creating videos on TikTok while raising a newborn

baby and caring for her mother who was battling brain cancer. When her mother

passed, Sexton adopted her seven-year-old sister and continued to create videos

about parenting, mental health, and her true love: baking. Eventually, Sexton’s

success on TikTok allowed her to fulfill her lifelong dream of opening a cookie

company—which has thrived, largely due to the loyalty of Sexton’s 2.2 million

TikTok followers, who have witnessed her journey. Sexton now ships thousands of

cookies every week all over the world and has published her own cookbook.

      9.     Due to the Act, Sexton faces losing her vibrant community of TikTok

followers who have consistently supported her throughout grief and the early days

of parenthood, as well as celebrated her successes. Sexton would have to find another

source of income and a different way of communicating to the public about her

cookie company. TikTok’s organic reach has allowed Sexton to connect with over

two million people (who know and care about her content) for free—a powerful tool

that traditional marketing cannot replicate.

      10.    Petitioner Talia Cadet lives in Capitol Heights, Maryland. She uses

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TikTok to share her book reviews and promote Black authors, as well as Black-

owned businesses throughout the country, with her more than 126,000 followers.

Through TikTok, Cadet has connected with book lovers all over the country and

been invited to host in-person author events. She cherishes building community on

the app by amplifying minority voices and helping others discover her favorite local,

independent businesses. Cadet also uses the app to express her creativity and share

entertaining content about her daily life. The Act threatens to deprive Cadet of access

to this powerful community that has come to mean so much to her and would prevent

her from using her voice to most effectively promote the people and businesses that

she cares about.

      11.    Petitioner Timothy Martin coaches college football in Mayville, North

Dakota. He creates content on TikTok to share his love and knowledge of sports with

his approximately one million followers. Martin started posting videos on TikTok in

2020 while working as a student athlete. He uses it to stay connected with others in

the sports community and maintain a strong sense of identity and positive mental

health. He enjoys expressing himself creatively on the app, in particular by making

his signature sports-commentary videos using the green-screen feature in CapCut—

a ByteDance product for video editing. Martin generates revenue from his TikTok

videos and promotes recognition for the small-town university where he coaches

football. Martin fears the ban will deprive him, as well as other former athletes who

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use TikTok, of a valuable interactive community. It also threatens his supplemental

income.

      12.    Petitioner Kiera Spann is a recent college graduate living in Charlotte,

North Carolina. She started using TikTok in 2020 as a student to share information

and ideas from her classes with the public. Today, Spann uses the app to advocate

for the rights of sexual-assault survivors. She also educates her more than 760,000

TikTok followers about news, politics, and books. Spann partners with a variety of

non-profits to spread awareness on TikTok about issues such as criminal justice

reform and access to healthcare.

      13.    Because of the Act, Spann will lose her ability to share information and

perspectives with hundreds of thousands of people around the country and the world.

Indeed, Spann chooses TikTok in part because she finds it to be the best platform

for connecting with other sexual-assault survivors and promoting awareness of

victims’ rights. Spann is concerned that the Act will deprive her of access to a critical

forum for connecting with the communities that she has carefully cultivated over the

past few years.

      14.    Petitioner Paul Tran lives in Atlanta, Georgia, where he and his wife

founded a skincare line. After struggling to market their products through traditional

advertising and other apps, the Trans found great success on TikTok, amassing

138,000 followers. The pair sell their line through TikTok Shop (TikTok’s integrated

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e-commerce solution that allows sellers to sell products directly on the platform).

The couple’s fame on TikTok has also led to life-changing opportunities, including

appearances on television shows such as “Shark Tank” and “The Today Show.”

Without TikTok, such opportunities will disappear. Paul also uses TikTok to

document memories with his young daughter, connect with other dads, follow

martial arts, and research travel and restaurants.

      15.    Petitioner Christopher Townsend lives with his family in Philadelphia,

Mississippi. He served in the U.S. Air Force for six years as a cryptologic language

analyst. Townsend is now a well-known hip hop artist and founded an organization

dedicated to promoting biblical literacy by quizzing individuals on their knowledge

of stories from the Bible. Townsend shares videos of these light-hearted and

informative biblical quizzes with his 2.5 million TikTok followers. He also uses the

app to share his music, which addresses topics such as his religion, patriotism, and

political views. Because of the Act, Townsend faces losing the platform on which

he is able to express his beliefs and share his spirituality and music with the world.

      16.    Petitioner Steven King lives in Buckeye, Arizona. King has used

TikTok since 2019 to create humorous content about his daily life and spread

awareness about LGBTQ pride, self-confidence, and sober living. King also derives

immense satisfaction and enjoyment from using his ingenuity to create content on

the app for his 6.8 million followers—and seeing this content reach the kind of

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audience that finds it most compelling. His content has deeply resonated with the

public, some of whom ask King questions on TikTok about his experience coming

out as gay in Arizona and his 28-year loving relationship with his husband. This

community—which King has been unable to find on other social media and

entertainment platforms—means the world to him.

      17.    King’s success on TikTok has opened up many opportunities for him,

such as becoming a published author and being honored at the Cheer Choice Awards,

which recognizes creators on social media who are making an impact using their

platforms. Because of the Act, King is suddenly and unexpectedly facing the loss of

his career and the irreplaceable community that he has worked hard to foster.

      18.    Respondent Merrick B. Garland is the Attorney General of the United

States of America. The Act directs the Attorney General to bring actions enforcing

its prohibitions.

                                 JURISDICTION

      19.    This Court has original jurisdiction over this matter under section 3(a)-

(b) of the Act.

      20.    This Court also has authority under the Declaratory Judgment Act, 28

U.S.C. § 2201(a), to decide this action and award relief because the action presents

an actual case or controversy within the Court’s original jurisdiction.




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                                       BACKGROUND

A.        TikTok Provides a Distinct Medium for Expression.

         21.     TikTok is a popular online platform that allows users to create, watch,

share, and interact with short-form videos. TikTok’s stated mission is to inspire

creativity and bring joy.6 More than one billion people around the world use TikTok

each month, including approximately 170 million Americans.7

         22.     TikTok enables users to create, edit, and upload videos ranging from

15 seconds to 10 minutes in length. Users who create videos are called “creators,”

while the term “users” refers to both content creators and consumers. TikTok

provides creators a palette of tools to amplify their expression, such as sounds,

filters, and special effects.8 Creators have control and creative license over their

videos. TikTok users can like, comment on, and share creators’ videos. The

comment feature allows users to leave their impressions of or reactions to a TikTok

video and facilitates conversation and community among users.


6
    TikTok, Our Mission, https://tinyurl.com/6neyxe2e.
7
 TikTok, Thanks a billion! (Sept. 27, 2021), https://tinyurl.com/mr2e2rmv; (@TikTokPolicy), X
(Apr. 17, 2024, 6:56 PM), https://tinyurl.com/4v293w4k.
8
  Researchers have found that TikTok is “far more successful in converting content consumers into
creators, in part because its creator tools are superior and more fun.” Arvind Narayanan, TikTok’s
Secret Sauce, Knight First Amend. Inst. at Colum. Univ. (Dec. 15, 2022),
https://tinyurl.com/44d4ejse; see also Werner Geyser, What Is TikTok?—Everything You Need to
Know in 2024, Influencer Mktg. Hub (Jan. 30, 2024), https://tinyurl.com/5798vp2x (describing
how TikTok’s tools support “creative freedom”); Mia Sato, TikTok’s latest feature lets users make
AR filters, The Verge (Nov. 16, 2023), https://tinyurl.com/vkvdw3mc (describing TikTok’s “filter
templates” that allow users to “experiment with more than 2,000 assets to use in their effects”).

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       23.    Although TikTok is sometimes compared to other social media

platforms, it is different in important ways. TikTok does not require users to create

personal profiles with information about their backgrounds, likes, interests,

education, employment, and relationship status, or to “follow” or “friend” other

users. Instead, TikTok’s “For You” page provides curated videos for each user,

without appending related user profile information or dates, making everything feel

new and interesting. Unlike other platforms, TikTok allows users to explore new

content and creators without personalizing their feeds themselves. “After years of

irrelevant, disconnected news feeds, TikTok has revamped the scrolling experience,

enabling discovery and curating interest-based entertainment.”9

       24.    These features are powered by the platform’s distinct content

recommendation system, which curates a unique and personalized compilation of

videos for individual users based on judgments from how they interact with videos

about what types of content are likely to be most interesting to them. The

recommendation system amplifies creators’ voices in different and distinct ways,

providing them with an organic reach not just to more viewers but to specific

viewers. This encourages creators to produce authentic expression and enables


9
  AJ Kumar, How TikTok Changed the Social Media Game With Its Unique Algorithm,
Entrepreneur (Aug. 16, 2022), https://tinyurl.com/2mks2euy; see also James Broughel, TikTok Is
A Beacon Of Democracy In The Social Media Landscape, Forbes (Apr. 19, 2024),
https://tinyurl.com/4ksur28w (describing how TikTok’s algorithm “surface[s] content based on
engagement with internet trends rather than metrics indirectly tied to follower count”).

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viewers to receive more engaging content.10 By “learning users’ interests and

preferences in real time as they interact with content, it’s not unusual for videos

created by everyday people to suddenly get millions of views[.]”11 In effect, TikTok

creates a universe where everyday Americans from all walks of life can connect,

communicate, and find their communities just by being themselves. Visibility on

TikTok is not driven by someone’s fame or fortune but by connections inspired by

individual authentic expression.

       25.     For example, in 2020, Firebaugh had only 5,000 followers and was

struggling to maintain his ranch. One day, after being inspired by another TikTok

creator to share his ranching experience, he created a video to dispel the myth that

all Longhorn cattle are “vicious and dangerous,” by showing him petting one of his

friendly cattle. The video went viral and was viewed over 72,000 times, driving

curious users to ask Firebaugh questions about agriculture and livestock and fueling

interest in his way of life. This moment contributed to Firebaugh’s rise as a content

creator on TikTok, magnifying his ability to connect with others and receive life-


10
   See Narayanan, supra note 8 (“TikTok’s algorithm treats each video more or less independently
to assess its viral potential, caring relatively little about how many followers the creator has.”).
11
   Willingham et al., supra note 4; see also Caroline Petrow-Cohen, L.A. influencers, businesses
live or die on TikTok’s algorithm. Now they fear for the future, L.A. Times (May 6, 2024),
https://tinyurl.com/yv98bzxv (describing how TikTok supports creators and businesses without “a
big production budget” and “bring[s] the viewers to them”); James Broughel, TikTok Ban Lands a
Blow to Intellectual Discourse Online, Forbes (Apr. 30, 2024), https://tinyurl.com/3c5stmbt
(TikTok’s “algorithm has demonstrated a remarkable ability to elevate content from a wide range
of users, regardless of their prior popularity or follower count.”).

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changing opportunities.

           26.   Likewise, a few years ago, Spann posted a TikTok video of a protest

regarding a domestic violence assault, which went viral and was viewed

approximately nine million times. This video and the resulting media coverage—as

well as Spann’s continued advocacy—resulted in the perpetrator being held

accountable and meaningful reforms in Spann’s community.

           27.   TikTok’s content recommendation system also fosters communities

and opens doors for connection. Creators post videos on myriad topics, including

art, science, comedy, pets, cooking, music, travel and tourism, psychology, politics,

and current events. Users can discover new interests. And users with niche interests

can find other enthusiasts. Indeed, on TikTok, “[n]o interest is too small or obscure

to coalesce into a community.”12 “Groups that specialize in, for instance, little-

known cultural art forms or environmental conservation can reach new audiences,

creating a mutually beneficial exchange” resulting in more awareness and more

engaging content.13

           28.   Spann and Cadet, for example, participate in BookTok, a large, well-

known community of readers who share and engage with TikTok videos reviewing,




12
     Willingham et al., supra note 4.
13
     Id.

                                            12
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recommending, and joking about the books they read.14 Firebaugh has connected

with other agricultural educators and cattle ranchers—a group that he described as

insular. Firebaugh has called upon this community to help others in need. For

example, he relied on TikTok to raise donations of badly needed cattle feed to send

to the Texas panhandle after a recent series of devastating fires, and to alert the

public about where to access his beef donations in cities around the state. Likewise,

King has connected with other LGBTQ creators and audiences, as well as

individuals living in or working through sobriety.

       29.    TikTok has also emerged as a forum for political advocacy. Politicians

from across the spectrum use the platform, especially to reach young people, activate

new supporters, and break out as candidates. Even after passage of the Act, United

States Senators continue to use TikTok to express their views and reach their

constituents.15 The campaign for President Biden also uses TikTok, a practice that

Rob Flaherty, the campaign’s deputy manager, defended when he stated on April

24, 2024, that it “would be silly to write off any place where people are getting

information about the president.”16


14
   Ryan Hudgins, 21 popular BookTok books and why they went viral, Today (Mar. 15, 2023),
https://tinyurl.com/kkvj3xur.
15
  See, e.g., Sen. Ed Markey (@senmarkey), TikTok, https://tinyurl.com/msxmmv5c; Team Rosen
(@rosenhq), TikTok, https://tinyurl.com/3kxcrtf8.
16
  Will Weissert, Biden just signed a bill that could ban TikTok. His campaign plans to stay on
the app anyway, AP (Apr. 24, 2024), https://tinyurl.com/4n5y3546.

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      30.    Petitioners also use TikTok to engage in political speech. For example,

Townsend has participated in TikTok’s “Conservative Hype House,” a collective of

creators who discuss and debate views on current events from a conservative

perspective and take turns posting videos to the collective’s followers. Spann also

uses TikTok to encourage Americans to engage in political and social advocacy.

      31.    Additionally, Petitioners use TikTok for information about news and

current events. For example, King views news from national and international

journalists on TikTok. He finds TikTok to be one of the most unbiased and unfiltered

news sources. Likewise, in Spann’s experience, TikTok has a unique ability to

spread time-sensitive and important news faster than any other platform—and she

relies on it for such updates.

      32.    TikTok also provides distinctive tools, such as sounds, filters, and

special effects, to allow creators to post content that is not entirely replicable on

other platforms. Content created on TikTok and CapCut may look and sound

different than content created elsewhere. For example, TikTok allows users to

quickly react to other videos through “duets,” which allows creators to post their

own videos alongside other TikTok videos; “stitches,” which allows them to clip and

integrate scenes from other TikTok videos into their own; and “remixes,” which

allow creators to “remix” different videos on TikTok. Many also use the app’s

“green screen” feature, in which their heads float over an image or a video in the

                                         14
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style of a news presenter, to offer criticism or commentary. Unlike other services

where professional creators upload high-cost productions, TikTok creators can—and

often do—become viral sensations with simple and spontaneous videos.17

       33.    Firebaugh creates all his videos using TikTok because he finds the

experience of creating videos through TikTok much easier than on other social

media apps. Spann edits all her videos in TikTok or CapCut, finding other platforms

inefficient. Likewise, Martin creates most of his videos using CapCut and relies

heavily on the green-screen feature for his sports commentary videos. Without

access to TikTok or CapCut, Martin would no longer be able to create his signature

videos.

       34.    These characteristics—intrinsic to the medium and derived from the

system TikTok uses to curate content for each user—give TikTok a distinct culture

and identity. Creating videos on TikTok (“TikToks”) is thus its own form of

expression, and content expressed through TikTok may convey a different meaning

than content expressed elsewhere.

       35.    Not only is TikTok a medium for expression, it is also a forum shaped

by its editorial values. The platform compiles expression from millions around the


17
   See, e.g., Frances Gurney, This man has gone viral on TikTok for dancing to Nelly Furtado in
front of his bathroom sink, The Tab (Feb. 25, 2022), https://tinyurl.com/yc45ttt5; Jillian
Giandurco, Alex Consani Is TikTok’s 2024 It Girl, Bustle (Jan. 9, 2024),
https://tinyurl.com/22j6bxyt.


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world and curates the content through its recommendation system to create

personalized compilations for each user. These compilations set TikTok apart from

other platforms, which produce different compilations based on their own distinct

editorial rules. Indeed, other social media platforms have attempted to recreate

TikTok’s “secret sauce” without the same success.18

       36.    In fact, all of the Petitioners have tried using other social media apps,

with far less success. For example, King has 6.8 million followers on TikTok, but

only about 137,000 on Facebook. Sexton has 2.2 million followers on TikTok, but

only about 44,000 on Instagram. Townsend has 2.5 million followers on TikTok, but

only about 298,000 on Instagram. Firebaugh has more than 430,000 followers on

TikTok, but only about 22,000 on Instagram. Martin has one million followers on

TikTok, but only about 10,000 on Instagram. Spann has over 760,000 followers on

TikTok, but less than 10,000 on Instagram. Tran’s company has 138,000 followers

on TikTok, but less than 2,000 followers on Facebook. And Cadet has 126,000

followers on TikTok, but less than 7,000 on Instagram.

       37.    Sexton has compared TikTok with other social media apps by posting

the same videos on multiple platforms. Her videos performed vastly better on


18
   Mia Sato, YouTube is adding a slew of new TikTok-like features to Shorts, The Verge (Aug. 1,
2023), https://tinyurl.com/y9ssbvz5; Conor Murray, TikTok Clones: How Spotify, Instagram,
Twitter And More Are Copying Features Like The ‘For You’ Page, Forbes (Mar. 13, 2023),
https://tinyurl.com/5yp2s4ej; Chris Stokel-Walker, How TikTok beat Instagram, Bus. Insider
(Feb. 2, 2023), https://tinyurl.com/25eh5zpb.

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TikTok. Sexton attributes these differences to the fact that TikTok’s algorithm, in

her experience, gets her videos in front of the exact communities who find it most

compelling—in her case, mostly mothers and fellow baking aficionados. Martin has

experienced the same results—unlike other social media apps, TikTok conveys his

content directly to sports lovers who are most likely to enjoy it.

       38.    TikTok’s defining traits stem from the editorial decisions it makes

using its proprietary content recommendation technology. “TikTok would no longer

be TikTok” without that technology.19 Petitioners have personally experienced

ownership and editorial changes that alter expression on other social media

platforms, while also affecting the types of expression those platforms published and

promoted.20 For example, King and Spann no longer regularly post content on X

after Elon Musk’s acquisition of Twitter. Spann worries that, if forced to divest,

TikTok’s new owner may follow other social media companies and, for example,

allow paid political advertising on the app, which fundamentally changes the user

experience.



19
    Daniel E. Sanger, TikTok Has Changed America, N.Y. Times (Apr. 19, 2024),
https://tinyurl.com/3emzadbb.
20
  Steven Lee Myers, et al., The Consequences of Elon Musk’s Ownership of X, N.Y. Times (Oct.
28, 2023), https://tinyurl.com/3bstx77m (“the site has experienced a surge in racist, antisemitic
and other hateful speech”); Bobby Allyn, Why can’t Twitter and TikTok be easily replaced?
Something called ‘network effects’, NPR (Apr. 12, 2023), https://tinyurl.com/ymeummzv (“Since
Elon Musk acquired the platform in October, [one user] has noticed his Twitter feed devolve into
an engine of self-promotion for the billionaire’s constantly shifting whims.”).

                                               17
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           39.   Petitioners thus have an interest not only in creating and accessing

expression through TikTok, but an interest in creating and accessing expression as

curated using TikTok’s current editorial practices.

B.         Courts Block Attempts to Ban TikTok.

           40.   TikTok has for years drawn regulatory scrutiny.21 This scrutiny has

focused on unproven data security claims stemming from the allegation that TikTok

is a company whose ultimate parent is allegedly headquartered in China, as well as

concerns about TikTok’s resulting editorial choices, content, and viewpoints.22

Federal courts have blocked every attempt to ban TikTok, including on the basis of

unproven data security concerns.

           41.   In TikTok Inc. v. Trump, 490 F. Supp. 3d 73 (D.D.C. 2020), the U.S.

District Court for the District of Columbia held that the President lacked authority

to issue an executive order intended to stop U.S. users from communicating on

TikTok, even where the order’s purported ultimate purpose was to protect national

security by preventing China from accessing data. Id. at 83. While the court found

ample evidence that China generally poses a credible national security threat, it

found no “specific evidence” of a threat stemming from TikTok, much less that a



21
 See, e.g., John D. McKinnon, U.S. Threatens Ban if TikTok’s Chinese Owners Don’t Sell Stakes,
WSJ (Mar. 15, 2023), https://tinyurl.com/yxuus85z.
22
     Id.

                                             18
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ban was the “only effective way to address that threat.” Id. at 85. The court later

affirmed that conclusion as applied to additional Commerce Department regulations,

enjoining the Secretary’s action and again finding a lack of evidence that TikTok

posed a national security threat. TikTok Inc. v. Trump, 507 F. Supp. 3d 92, 114‒15

(D.D.C. 2020)

      42.   Similarly, in Marland v. Trump, 498 F. Supp. 3d 624 (E.D. Pa. 2020),

the U.S. District Court for the Eastern District of Pennsylvania enjoined the same

executive order and related agency action. Rejecting the government’s national

security concerns as “hypothetical,” the court concluded the public interest in an

injunction outweighed the speculative risk the Government presented. Id. at 642‒43.

      43.   Most recently, in Alario v. Knudsen, -- F. Supp. 3d --, 2023 WL

8270811, at *8 (D. Mont. Nov. 30, 2023), the U.S. District Court for the District of

Montana enjoined a law banning TikTok in Montana, holding the ban likely violated

the company’s and users’ First Amendment rights and finding the state’s claim that

Chinese officials could “gain access to Montanans’ data without their consent”

unsupported by evidence. Id. at *13.

      44.   In response to concerns raised by the government, TikTok has

announced numerous measures to safeguard U.S. user data and protect the U.S.

TikTok platform against foreign government influence. TikTok reports that it has

voluntarily invested more than $2 billion to build a system of technological and

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governance protections, sometimes referred to as “Project Texas.” TikTok has also

reported making additional commitments in a proposed National Security

Agreement developed through negotiations with the Committee on Foreign

Investment in the United States (CFIUS), including agreeing to a “shut-down

option” that would give the government authority to suspend TikTok in the United

States if the company were found to violate certain agreed-upon obligations.

C.         Congress Bans TikTok Unless the Company Finds, and the President
           Approves, a New Publisher.

           45.   Undeterred, Congress has now banned TikTok in the United States,

effective January 19, 2025. President Biden signed the Act on April 24, 2024.

           46.   The content-based, viewpoint-based, and speaker-based aims of the Act

are no secret. In supporting the Act, Representative Crenshaw (TX) claimed TikTok

“manipulate[s] the minds of Americans.”23 Representative Smith (N.J.) described

the Act as “countering [Chinese] efforts to sway [American] public opinion in its

favor[.]”24 Representative Flood (NE) claimed TikTok disseminates “propaganda”

that would “use our country’s free marketplace to undermine our love for liberty.”25

Representative Fulcher (ID) claimed TikTok gives China “the ability to engage in




23
     170 Cong. Rec. at H1169.
24
     Id.
25
     Flood, supra note 3.

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psychological warfare against the American people.”26 Representative Strong (AL)

asserted that TikTok “set[s] an anti-American narrative in the United States,” pushes

“propaganda videos from Osama bin Laden,” and promotes “an anti-Israel

message[.]”27 One of the bill’s co-sponsors, Representative Krishnamoorthi (IL),

claimed that “the CCP has ultimate control of the algorithm which feeds the content

of the platform.”28 And in an interview with Secretary of State Antony Blinken,

Senator Mitt Romney (UT) explained that the Act enjoyed “overwhelming support”

in Congress precisely because of members’ perceptions about the subject matter and

viewpoints discussed on the platform, such as “the number of mentions of

Palestinians relative to other social media” on “TikTok broadcasts.”29

       47.    These     arguments      focus     on    censoring      TikTok’s     content

recommendation system. Without any evidence, certain Congressmembers created

a fiction that TikTok curates content to push propaganda30 and “drive certain


26
  Press Release, Rep. Russ Fulcher (ID), Congressman Russ Fulcher’s Statement on the Passage
of H.R. 7521 (Mar. 14, 2024), https://tinyurl.com/mwaunwda.
27
 Press Release, Rep. Dale Strong (AL), Strong Statement on Curtailing CCP Surveillance on
American Citizens (Mar. 13, 2024), https://tinyurl.com/bddv4s89.
28
  Rep. Raja Krishnamoorthi (IL), (@congressmanraja), Instagram (Apr. 25, 2024),
https://tinyurl.com/ycxw6xpf.
29
  Press Release, Sec’y of State, Antony J. Blinken, Secretary Antony J. Blinken At McCain
Institute’s 2024 Sedona Forum Keynote Conversation with Senator Mitt Romney (May 3, 2024),
https://tinyurl.com/57zafh8j.
30
   Press Release, Rep. Jack Bergman (MI), Bergman Supports Bipartisan Legislation to Stop
Foreign Adversaries from Owning Social Medial Companies (Mar. 13, 2024),
https://tinyurl.com/23j8st77.

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messages to divide Americans, to destabilize our politics, to influence policymakers

to denigrate policymakers, [and] to tear our country apart.”31 Representative

Gallagher (WI)—who co-authored an earlier version of the Act—urged colleagues

to support the Act precisely because TikTok had become a “dominant news

platform” to which young Americans increasingly turn for news and information.32

Because the same could be said of other social media, Congress’s decision to focus

on TikTok demonstrates animus toward the speech TikTok publishes and the

speakers who publish it.

         48.    Congressmembers’ concerns with content on TikTok extend beyond

alleged foreign propaganda. Senator Warner (VA) lauded the bill for arresting what

he called TikTok’s “enormous power to influence and divide Americans.”33

Representative Clarke (NY) claimed the Act is necessary to force TikTok “to

become an American company guided by American principles and Western

democratic values,”34 and Representative Huffman (CA) expressed concern about



31
  Scott Wong et al., It could be months before the Senate takes up a TikTok bill, despite warnings
about China, NBC News (Mar. 20, 2024), https://tinyurl.com/njsz2zar.
32
     170 Cong. Rec. at H1165.
33
  Press Release, Sen. Mark R. Warner (VA), Warner, Rubio Applaud House Passage of Bill to
Protect Americans from Foreign Adversary Controlled Applications Including TikTok (Mar. 13,
2024), https://tinyurl.com/3v9p7zxn.
34
   Press Release, Rep. Yvette D. Clarke (NY), Rep. Clarke Releases Statement on H.R. 7521, The
Protecting Americans from Foreign Adversary Controlled Applications Act (Mar. 7, 2024),
https://tinyurl.com/393xz8zb.

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the use of TikTok to wield “significant influence over tens of millions of

Americans,” through “malign disinformation campaigns.”35 Senator Cantwell (WA),

who chairs the Senate subcommittee for technology, was even more explicit,

suggesting the Act will allow the federal government to “stop bad actors from

broadcasting … into the United States with nefarious messages[.]”36

      49.    The Act bans a “foreign adversary controlled application” from

operating (i.e., publishing) within the territorial borders of the United States. See Act

§ 2(a)(1)(A)-(B). The statute then makes clear (if it was not already clear) that it

targets one particular company: TikTok. It expressly defines “foreign adversary

controlled application” to include any application operated by TikTok or its ultimate

parent, ByteDance Ltd. Id. § 2(g)(3)(A)(i)-(iii).

      50.    The Act also makes clear its focus is the speech TikTok publishes.

While the Act singles out TikTok, it establishes a more general category of “covered

compan[ies]” to which it can theoretically apply. Id. § 2(g)(2)(A). Even for such

companies, the Act applies only to entities that operate an application with more than

one million monthly active users during a specified time period that enables those



35
   Press Release, Rep. Jared Huffman (CA), Huffman Statement On Vote For The Protecting
Americans From Foreign Adversary Controlled Applications Act (Mar. 12, 2024),
https://tinyurl.com/mtrbmmze.
36
   Natalie Andrews, Powerful Senator Crafts TikTok Crackdown, WSJ (Apr. 14, 2024),
https://tinyurl.com/kpdsyatm.

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users to “generate, share, and view text, images, videos, real-time communications,

or similar content.” Id. And the Act expressly excludes from that catchall definition

of “covered company” any companies that offer any service “whose primary purpose

is to allow users to post product reviews, business reviews, or travel information and

reviews.” Id. § 2(g)(2)(B).

      51.    The Act contains a so-called “qualified divestiture” regime that

underscores its purpose and effect is to ban TikTok. Id. § 2(g)(6). The Act provides

that TikTok may theoretically continue publishing in the United States if sold within

270 days to another approved entity. Id. § 2(a)(1)(A), § (2)(a)(2)(A), § (2)(g)(6). The

President possesses discretion to withhold pre-approval, as the Act ultimately leaves

it to his judgment—following an unspecified “interagency process”—whether to

approve the divestiture. Id. § (2)(g)(6)(B). But to the extent the Act includes

standards to guide the President’s discretion, they make clear the Act effectuates a

ban. Specifically, the Act requires the President to ensure that any divested successor

is not permitted to maintain “any operational relationship” between its U.S.

operations and any “formerly affiliated entities that are controlled by a foreign

adversary,” including any “cooperation with respect to the operation of a content

recommendation algorithm.” Id. TikTok states this is not a viable option. See Pet.

for Review ¶¶ 25-29, TikTok Inc. v. Garland, No. 24-1113 (D.C. Cir. May 7, 2024).




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Publicly available information reinforces that conclusion.37

       52.    The Act subjects any entity that provides access to TikTok in violation

of this ban to a penalty of $5,000 for each user who access the platform “multipl[ied]

… by the number of users within the land or maritime borders of the United States”

who access, maintain, or update the app as a result of the violation. Id. § 2(d)(1)(A).

Because TikTok currently has approximately 170 million users in the United States,

the fine for continuing to enable access to TikTok would be roughly $850 billion.

                                 LEGAL PRINCIPLES

       53.    Only certain strictly limited categories of speech fall outside the First

Amendment’s protection—defamation, fraud, incitement, true threats, obscenity,

and speech integral to criminal conduct—and the Supreme Court has repeatedly

rejected attempts to expand these categories. United States v. Stevens, 559 U.S. 460,

468-69 (2010). The First Amendment protects Americans’ rights to distribute and

receive all other information, including from overseas. See, e.g., Stanley v. Georgia,

394 U.S. 557, 564 (1969); Lamont v. Postmaster Gen., 381 U.S. 301, 307 (1965).

       54.    Prior restraints—that is, restraints on speech before it is published—are

the most serious and the least tolerable infringement on First Amendment rights.

Neb. Press Ass’n v. Stuart, 427 U.S. 539, 559 (1976). Any law that imposes a prior



37
  Laura He, Banning TikTok would hit China’s tech ambitions and deepen the global digital
divide, CNN (Apr. 24, 2024), https://tinyurl.com/bdp8mk74.

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restraint on expression thus carries “a heavy presumption against its constitutional

validity,” Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 70 (1963), even where the

restraint is allegedly necessary for national security, N.Y. Times Co. v. United States,

403 U.S. 713, 714 (1971).

      55.     Content-based, viewpoint-based, and speaker-based laws that restrict

or burden speech are also presumptively unconstitutional. The “government has no

power to restrict expression because of its message, its ideas, its subject matter, or

its content.” Brown v. Ent. Merchs. Ass’n, 564 U.S. 786, 790–91 (2011) (citation

omitted). Nor may the government discriminate among speakers, particularly where

such restrictions “reflect the Government’s preference for the substance of what the

favored speakers have to say (or aversion to what the disfavored speakers have to

say).” Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622, 658 (1994). Finally, the

Government may not require speakers to use editors or publishers different from

those with whom the speakers wish to associate and work. See Hurley v. Irish-Am.

Gay, Lesbian & Bisexual Grp. of Bos., 515 U.S. 557, 569‒70 (1995).

      56.     Any law that restricts speech along any of these lines is subject to strict

or an even higher form of scrutiny, requiring, at a minimum, that the government

establish that its regulation furthers a compelling interest and uses the least

restrictive means to achieve it. United States v. Playboy Ent. Grp., 529 U.S. 803,

813 (2000).

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      57.    Even intermediate scrutiny—which applies where laws restrict merely

the time, place, or manner of speech—requires the government to prove its

restriction (1) will serve a substantial government interest “unrelated to the

suppression of free expression” by alleviating in a direct and material way harms

that are “not merely conjectural,” and (2) is narrowly tailored to suppress no more

speech “than is essential to the furtherance of that interest.” Turner, 512 U.S. at 662,

664 (citations omitted).

      58.    The Constitution also “gives significant protection from overbroad laws

that chill speech within the First Amendment’s vast and privileged sphere.” Ashcroft

v. Free Speech Coal., 535 U.S. 234, 244 (2002). Even if a law has some legitimate

applications, it still is unconstitutional if “a substantial number of its applications are

unconstitutional, judged in relation to the statute’s plainly legitimate sweep.”

Stevens, 559 U.S. at 473 (citation omitted). Laws categorically banning protected

speech are thus virtually always invalid because they are overbroad. See Bd. of

Airport Commr’s of City of L.A. v. Jews for Jesus, 482 U.S. 569, 574‒75 (1987).

                                     CLAIM ONE

          VIOLATION OF THE FIRST AMENDMENT TO THE U.S.
                         CONSTITUTION

      59.    Petitioners incorporate all prior allegations above as if fully set forth

herein.



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      60.    The Act regulates “speech” under the First Amendment by singling out

and effectively banning a medium of communication—TikTok—that Petitioners

(and other Americans) use to engage in protected expression, prohibiting them from

sending and receiving information they are entitled to communicate.

      61.    The Act erects an unconstitutional prior restraint by banning protected

speech on TikTok and by empowering the President to pre-approve who may publish

and edit TikTok’s service and, in turn, the speech Petitioners wish to disseminate on

that platform.

      62.    The Act regulates on a content-, speaker-, and viewpoint-basis. The law

is content- and speaker-based because it expressly bans TikTok but exempts other

companies based on the type of content those companies’ apps publish. The law is

also content-, speaker-, and viewpoint-based because it prohibits operation of

TikTok’s current content recommendation system by its current editors, preventing

Petitioners from using their chosen editor and publisher to engage in protected

communication. From the standpoint of the First Amendment, this restriction is no

different from prohibiting American freelance writers from submitting articles to

The Economist, or American musicians from disseminating songs through Spotify.

The Act further regulates speech based on its viewpoint because it is motivated by a

disfavored view of the ideas that are, or could be, expressed or promoted on TikTok.

      63.    The Act for all these reasons bears a heavy presumption of

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unconstitutionality—more stringent than even strict scrutiny—and fails even

intermediate scrutiny. The government cannot ban a medium for communication

because it believes that medium is used to transmit foreign “propaganda” or other

protected content. Nor does the government have any actual, non-speculative

evidence that banning TikTok in its current form enhances Americans’ data security,

or that its ban is narrowly tailored to accomplish that objective. The fact that the Act

is paired with other federal legislation restricting how data brokers may share and

sell American user information to certain foreign entities underscores that the ban is

not narrowly tailored.

      64.     The government has not identified any other basis to justify its ban, nor

is there any conceivable legitimate interest that would warrant shuttering an entire

media platform used by millions that could not be achieved through narrower

regulation.

      65.     The Act is unconstitutionally overbroad because it bans an entire

medium of communication and all the speech communicated through that medium,

even though, at the very least, the vast majority of that speech is protected and not

otherwise subject to suppression.

      66.     Unless declared invalid and enjoined, the Act will unlawfully deprive

Petitioners of their rights under the First Amendment, inflicting immediate and

irreparable harm.

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                            PRAYER FOR RELIEF

      WHEREFORE, Petitioners respectfully pray for judgment:

              a.   Granting this Petition for Review;

              b.   Declaring the Act invalid under the United States Constitution

because it violates Petitioners’ First Amendment rights;

              c.   Enjoining Respondent from taking any action to enforce the Act;

              d.   Entering judgment in favor of Petitioners; and

              e.   Awarding Petitioners all other such relief as the Court deems just

and proper.

 Dated:    May 14, 2024

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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 14th day of May, 2024, I caused copies of the

foregoing Petition for Review and Complaint for Declaratory and Injunctive Relief

to be served upon the following recipients.

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